Case 8:24-cv-01080-WFJ-TGW Document 70                   Filed 04/03/25 Page 1 of 3 PageID 1558
   USCA11 Case: 24-12826 Document: 52-1                  Date Filed: 04/03/2025 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           April 03, 2025

  MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 24-12826-JJ
  Case Style: State of Florida, et al v. Department of Health and Human Services, et al
  District Court Docket No: 8:24-cv-01080-WFJ-TGW

  The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
  11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
  motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
  such order. No additional time shall be allowed for mailing."

  Any pending motions are now rendered moot in light of the attached order.

  Clerk's Office Phone Numbers
  General Information: 404-335-6100          Attorney Admissions:         404-335-6122
  Case Administration: 404-335-6135          Capital Cases:               404-335-6200
  CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




  Enclosure(s)

                                                                DIS-4 Multi-purpose dismissal letter
Case 8:24-cv-01080-WFJ-TGW Document 70         Filed 04/03/25 Page 2 of 3 PageID 1559
   USCA11 Case: 24-12826 Document: 52-2        Date Filed: 04/03/2025 Page: 1 of 2




                                      In the
                   United States Court of Appeals
                            For the Eleventh Circuit

                             ____________________

                                   No. 24-12826
                             ____________________

          STATE OF FLORIDA,
          FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION,
          FLORIDA DEPARTMENT OF MANAGEMENT SERVICES,
                                                         Plaintiﬀs-Appellees,
          CATHOLIC MEDICAL ASSOCIATION,
          on behalf of its current and future members,
                                                           Plaintiﬀ-Appellee
                                                           Cross-Appellant,
          versus
          DEPARTMENT OF HEALTH AND HUMAN SERVICES,
          SECRETARY, DEPARTMENT OF HEALTH AND HUMAN
          SERVICES,
          in his oﬃcial capacity,
          DIRECTOR, OFFICE FOR CIVIL RIGHTS,
          in her oﬃcial capacity,
Case 8:24-cv-01080-WFJ-TGW Document 70           Filed 04/03/25 Page 3 of 3 PageID 1560
   USCA11 Case: 24-12826 Document: 52-2          Date Filed: 04/03/2025 Page: 2 of 2




          2                       Order of the Court                  24-12826

          CENTERS FOR MEDICARE AND MEDICAID SERVICES,
          ADMINISTRATOR, CENTERS FOR MEDICARE AND
          MEDICAID SERVICES, et al.,


                                                        Defendants-Appellants
                                                             Cross-Appellees.


                               ____________________

                     Appeal from the United States District Court
                          for the Middle District of Florida
                      D.C. Docket No. 8:24-cv-01080-WFJ-TGW
                              ____________________

          Before ROSENBAUM, BRASHER, and ABUDU, Circuit Judges.
          BY THE COURT:
              Appellants’ “Unopposed Motion to Dismiss Appeal” is
          GRANTED.
                 Cross-Appellant Catholic Medical Association’s “Response
          to Unopposed Motion to Dismiss Appeal,” which the Court con-
          strues as a motion to voluntarily dismiss the cross-appeal, is
          GRANTED.
                The Clerk’s Office is directed to close the file on this matter.
          Each party shall bear their own respective costs.
